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                          UN IT ED STA TES D ISTR ICT CO U RT
                          SOU TH ER N D ISTRICT O F FLO R IDA
                                   M IAM I DIV ISIO N

                          CA SE N O .14-20072-ClV-K IN G/W H 1TE

  N IKO CA NCIO THO M PSON ,

               M ovant,



  UN ITED S'I-A TES O F AM ERICA,
               Respondent.
                                              /

                             FINA L O RD ER O F DISM ISSA L

        TH IS CA USE com esbefore the Courtupon M agistrate Judge Patrick A .W hite's

  November22,2016,Reportand Recommendation (the k$R&R'')(DE 48),which
  recom m endsthatM ovantN IKO CA NCIO TH OM PSON 'S M otion to V acatc,SetA side,

  orCorrectSentence(DE 44)be dismissed,thatno certificateofappealability issue,and
  thatthe case be closed.

        The Courthasperform ed a de novo review in addition to itsreview ofthe

  underlying m otion. l U pon consideration Ofthe record and the R& R ,the Coul'tfindsthat

  M agistrate Judge W hite'sw ell-reasoned,thorough R& R accurately states the 1aw and

  factsofthe case.

     A ccordingly,itis O RDER ED ,ADJU DG ED ,and DE CR EED :




  'NoobjectionswerefiledbytheMovant,andthetimetodosohaspassed.
                                               1
Case 1:09-cr-20264-JLK Document 628 Entered on FLSD Docket 12/20/2016 Page 2 of 2



          M agistrate JudgePatrick A .W hite'sN ovem ber22,20l6,Reportand

          Recommendàtion(DE 48)be,andthesam eis,hereby AFFIRM ED and
          AD O PTED asan OrderofthisCourt;

          M ovant'sM otion toVacate,SetAside,orCorrectSentence(DE 44)be,and the
          sam e is,hereby DEN IED .

          A 1lpending m otionsareD ENIED as M O O T .

          N o certit-icateofappealability shallissue.

          7'he Clerk ofCourtshallCLO SE thiscase.

          D O NE and O R DERED in cham bersatthe Jam esLawrence K ing FederalJustice

  Building and United StatesCourthouse,M iam i,Florida,this 20th day ofDecem ber,

  2016.




                                                                  *
                                                 ES LA W R EN CE K IN G
                                                ITED STA TES DISTRICT J D E


  cc:     M agistrate Judge Patrick A .W hite
          A Ilcounselofrecord
          N iko Cancio Thom pson,Pro Se
